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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         EVANSVILLE DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                            Plaintiff,                 )
                                                       )
                       V.                              )       CAUSE NO. 3:04-cr-00007-RLY-CMM
                                                       )
 FRANCISCO RAMOS RAMIREZ, ET AL,                       )
                                                       )
                            Defendant.                 )

                               NOTICE OF SUBSTITUTION OF COUNSEL

         The United States of America, through undersigned counsel, moves this Court to substitute

                 Jeremy Kemper,

 Assistant United States Attorney, as counsel in this case on behalf of the United States of America, for the

 appearances of any of the following former Assistant United States Attorney(s), whose appearance(s)

 should be withdrawn

                 Kristian Mukoski and Matthew P. Brookman.




                                                  Respectfully submitted,

                                                  ZACHARY A. MYERS
                                                  United States Attorney

                                          By:     /s/ Jeremy Kemper
                                                    Jeremy Kemper
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